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                           OFFICE Of SECRETARY OF STATE



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    <§~~do~ ~t/w;t the                                                                         seven           pages

    of photocopied matter hereto attached,                                  Act No. 182 (H.B. 415)

    approved by the Governor on                                  May 5, 2005                contain a true and

    correct copy of an Enrolled Act affecting your county; all as the same

c   appear of file and record in this office. ·---------------...- -




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                                 ~/'
                          ~ /'
             _,,, . / /

      ~--------- IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                                                 the seal of my office, at the Capitol, in the City of Atlanta, this

                                                                   I ?th day of              May           , in the year of our Lord

                                                                 Two Thousand      and Five
                                                                 and of the Independence of the United States of America the

                                                                 Two Hundred and       Twenty-ninth.
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    STATE OF GEORGIA
    COUNTY OF CRISP

                                              RESOLUTION
                                                                                          CC<Q/J©w
                                                                                                 LI
(                                TO ESTABLISH A CRISP COUNTY BOARD OF
                                      ELECTIONS AND REGISTRATION

    WHEREAS, Crisp County is required by the O.C.G.A §21-2-212 to establish a Board of Registrars; and

    WHEREAS, the General Assembly is authorized by the O.C.G.A §21-2-40 to establish a Board of Elections in
    lieu of the Probate Judge perfonning duties relating to elections under O.C.G.A §15-9-30; and

    WHEREAS, the General Assembly is authorized by the O .C.G.A §21-2-40 to create a Crisp County Board of
    Elections and Registration; and

    WHEREAS, a combined a Crisp County Board of Elections and Registration will provide for a more efficient
    election process and more effective voter registration process; and

    WHEREAS, the improved efficiency and effectiveness provided by a combined a Crisp County Board of
    Elections and Registration will result in a better service and conserved resources for the Citizens of Crisp
    County; and

    WHEREAS, the Board of Commissioners of Crisp County desires to have established a Crisp County Board of
    Elections and Registration; and

    NOW THEREFORE, BE IT RESOLVED, that the Board of Commissioners of Crisp County does hereby
(   pray that the Georgia General Assembly establish a Crisp County Board of Elections and Registration, to be
    effective July 1, 2005, through enactment oflocal legislation by the General Assembly; and
                                                                  r
    BE IT FURTHER RESOLVED that the Board of Commissioners of Crisp County does hereby pray that the
    Georgia General Assembly establish the membership of the Crisp County Board of Elections and Registration,
    to be a Chairperson and four members; the Chairperson to be appointed by the Board of Commissioners of
    Crisp County, one member to be appointed by the Democratic Executive Committee, one member to be
    appointed by the Republican Executive Committee, and two members to be nominated by the Grand Jury of
    Crisp County and appointed by the Chief Superior Court Judge of the Cordele Judicial Circuit

    ADOPTED IN LEGAL ASSEMBLY this 14th Day of / ecember 2004.



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                   Q .a
    Joyce C~n Pheil, Commissioner



(   Authur Jaies Nance, Commissioner
                                                                                           se, Jr., Administrator
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                          f\ ENROLLMENT                           H.B. No • ..,4....1....
                                                                                     5 _ __    Act No.
                          Hp1::l\ ~                    206S-             General                            Assembly

          The Committee of the Holl~e on Information and Audits
          has examined the within and finds tbe same properly
          enrolled.

                                                                                              AN ACT
                                                                   To create a board of elections and registration for Crisp
                                                                   County and to provide for its powers and duties; and for
                                                     Cha innan     other purposes.




                                                                                          IN HOUSE
c                                                                 Read 111 time
                                                                  Read 2•d time
                                                                                      2-10-05
                                                                                      2-14-05
                                                                  Read 3111 time      2-17-05
                                                                            And       Passed
                                                                  Yeas     134                           Nays O




                                 ecretary, Executive Department
                                                                      ~use               IN SENATE


              This~dayof ~r°J
                                                                  Read 111 time       2-22-05
                                                       20...QS    Read 2•d time
                                                                  Read 3111 time
                                                                            And       Passed     3-15-05
                                                                  Yeas              45                   Nays           0
                                                                  Passed Both Houses

                                                                      <l~L
                                                                  By: Rep. Floyd of the 147'b

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                                                '   '

                                                                  AN ACT


                       To create a board of elections and registration for Crisp County and to provide for its powers
                       and duties; to provide for definitions; to provide for the composition of the board and the
                       selection and appointment of members; to provide for the qualification, terms, and removal
                       of members; to provide for oaths and privileges; to provide for meetings, procedures, and '
                       vacancies; to relieve certain officers of powers and duties and to provide for the transfer of
                       functions to the newly created board; to provide for certain expenditures of public funds; to
                       provide for compensation ofmembers of the board and personnel; to provide for offices and
                       equipment; to provide for the board's performance of certain functions and duties for certain
                       municipalities; to provide for related matters; to provide effective dates; to repeal conflicting
                       Jaws; and for other purposes.


                                 BE IT ENACTED BY THE GENERAL ASSEMBLY OF GEORGIA:


                                                                SECTION 1.
                       Pursuant to subsection (b) of Code Section 21-2-40 of the O.C.G.A., there is created the

c                      Board of Elections and Registration of Crisp County, hereinafter referred to as "the board."
                       The board shall have the powers, duties, and responsibilities ofthe judge of the probate court
                       of Crisp County under Chapter 2 ofTitle 21 of the O.C.G.A., the "Georgia Election Code,"
                       and the powers, duties, and responsibilities of the board ofregistrars of Crisp County under
                       Chapter 2 of Title 21 of the O.C.G.A., the "Georgia Election Code."


                                                                SECTION 2.
                       The tenns "election," "elector," "political party," "primary," and "public office" shall have
                       the same meaning as set forth in Chapter 2 ofTitle 21 of the O.C.G.A., the "Georgia Election
                       Code," unless otherwise clearly apparent from the text of this Act, and the term ,
                       "commissioners" means the Board of Commissioners of Crisp County and "county" means
                       Crisp County.


                                                                SECTION3.
                       (a) The board shall be composed of a chairperson and four members who shall be appointed
                       as provided in this section.
                       (b) One member of the board shall be selected by the governing authoritY of Crisp County
                       to serve as chairperson of the board who shall serve as such during his or her term of office.

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c                     (c) One member of the board shall be appointed by the political party which received the
                      highest number of votes within the county for its candidate for Governor in the general
                      election immediately preceding the appointment of such member. One member of the board "
                      shall be appointed by the political party which received the second highest number of votes
                      within the county for its candidate for Governor in the general election immediately
                      preceding the appointment of such member. Each of these respective members appointed
                      by political parties shall be nominated by the party chairperson and ratified by the county
                      executive committee of the respective political party at least 30 days before the beginning
                      of the term of office or within 30 days after the creation of a vacancy in the office. In the
                      event that a political party entitled to appoint a member of the board does not have a county
                      executive committee, such appointment shall be made by the state executive committee of ,
                      such political party.
                      ( d) Two members of the board shall be nominated by the grand jury of Crisp County and
                      appointed by the chiefjudge of the Superior Court of Crisp County.
                      (e) All appointments to the board shall be promptly certified by the governing authority of
                      Crisp County to the clerk of the Superior Court of Crisp County.
                      (f) In making the initial appointments to the board, the members shall be appointed by the
                      respective appointing authorities not later than June 1, 2005. The governing authority shall

c                     designate two of the initial appointees to serve terms beginning on July 1, 2005, and ending
                      on June 30, 2007, and until their successors are duly appointed and qualified. Successors to
                      such members shall thereafter be appointed to serve terms of office of four years beginning
                      July 1, 2007, and until their successors are duly appointed and qualified. The initial
                      chairperson and the other initial appointees shall serve terms beginning on July 1, 2005, and     '
                      ending on June 30, 2009, and until their successors are duly appointed and qualified.
                      Successors to such members shall thereafter be appointed to serve terms of office of four
                      years beginning July 1, 2009, and until their successors are duly appointed and qualified.
                      Thereafter, all members shall be appointed to serve four-year terms of office.


                                                              SECTION 4.
                                                                                                                        1
                      (a) No person who bolds elective public office shall be eligible to serve as a member of the      ·

                      board during the term of such elective office, and the position of any member of the board
                      shall be deemed vacant upon such member's qualifying as a candidate for elective public

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                      office.

                 !!   (b) Members of the board must be residents of Crisp County and must ha".e been registered
                      voters in Crisp County for a period of at least one year prior to the date of their appointment
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                 !.   to the board.

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                                                               SECTIONS.

c                      The governing authority of Crisp County shall certify the appointment of each member of
                       the board by filing an affidavit with the clerk of the superior court not later than 15 days
                       preceding the date upon which each member is to take office, stating the name and residential
                       address of the person appointed and certifying such member bas been duly appointed as
                       provided in this Act. The clerk of the superior court shall record each of such certifications
                       on the minutes of the superior court and shall certify the name of each such appointed
                       member to the Secretary of State and provide for the issuance of appropriate commissions
                       to the members within the same time and in the same manner as provided by law for
                       registrars.


                                                               SECTION 6.
                       Each member of the board shall be eligible to serve two full four-year terms of office, shall
                       have the right to resign at any time by giving written notice of such resignation to the
                       governing authority of Crisp County and to the clerk of the superior court, and shall be
                       subject to removal from the board by the governing authority of Crisp County at any time,
                       for cause, after notice and hearing.


                                                               SECTION7.

c                      In the event a vacancy occurs in the office of any appointed member before the expiration
                       ofllis or her tenn, by removal, death, resignation, or otherwise, the governing authority shall
                       appoint a successor to serve the remainder of the unexpired term as provided for in Section 3
                       of this Act. The clerk of the superior court shall be notified of such interim appointments and
                       record and certify such appointments in the same manner as the regular appointment of
                       members.


                                                               SECTION 8.
                       Before entering upon the member's duties, each member shall take substantially the same
                       oath as required by law for registrars and shall have the same privileges from arrest.


                                                               SECTION9.
                       (a) The board shall be authorized to organize itself, determine its procedural rules and
                       regulations, adopt bylaws, specify the functions and duties of its employees, and otherwise
                       take such action as is appropriate to the management of the affairs committed to its
                       supervision; provided, however, that no such action shall conflict with state law. Action and
                       decision by the board shall be by a majority of the members of the board. The board shall


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                    be responsible for the selection, appointment, and training of poll workers in primaries and

(                   elections.
                    (b) The board shall fix and establish, by appropriate resolution entered on its minutes,
                    directives governing the execution of matters within its jurisdiction. Any specially called
                    meeting shall be called by the chairperson or any two members ofthe board. The board shall
                    maintain a written record of policy decisions amended to include additions or deletions. ·
                    Such written records shall be made available for the public to review.


                                                           SECTION 10.
                    The board shall have the authority to contract with any municipality located within Crisp
                    County for the holding by the board of any primary or election to be conducted within such
                    municipality.


                                                           SECTION 11.
                    (a) The governing authority of Crisp County shall be authorized to appoint an election
                    supervisor to generally supervise, direct, and control the administration of the affairs of the
                    board pursuant to law and duly adopted resolutions of the board. The election supervisor
                    shall not be a member of the board. The election supervisor shall be considered an employee
                    of Crisp County and shall be entitled to the same benefits as other employees of Crisp

c                   County.
                    (b) The governing authority of Crisp County is authorized to employ additional clerical
                    assistants as needed to carry out the duties and functions of the board. All such clerical
                    assistants shall be considered to be employees of Crisp County and shall be entitled to the
                    same benefits as other employees of Crisp County.


                                                           SECTION 12.
                    Compensation for the members ofthe board, election supervisor, clerical assistants, and other
                    employees shall be fixed by the governing authority of Crisp County. Such compensation
                    shall be paid wholly from county funds.


                                                            SECTION 13.
                    The governing authority of Crisp County shall provide the board with such proper and
                    suitable offices, equipment, materials, and supplies and with such clerical assistance and
                    other employees as the governing authority of Crisp County deems appropriate.




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                                                         SECTION 14.

c                  This Act shall become effective upon its approval by the Governor or upon its becoming law
                   without such approval for purposes of making initial appointments to the board only. This
                   Act shall become fully effective on July 1, 2005. Upon this Act becoming fully effective,
                   the superintendent of elections of Crisp County and the board of registrars of Crisp County
                   shall be relieved of all powers and duties to which the board succeeds by the provisions of
                   this Act and shall deliver to the board all equipment, supplies, materials, books, papers,
                   records, and facilities pertaining to such powers and duties.


                                                         SECTION 15.
                   All laws and parts of laws in conflict with this Act are repealed.




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                                GEORGIA, FULTON COUNTY

                                Personally appeared before me, the undersigned authority, duly authorized to administer oaths,

                                Johnny Floyd, who on oath deposes and says that he is the Representative from District 147 and

                                further deposes and says that the attached Notice of Intention to Introduce Local Legislation was

                                published in the Cordele Dispatch which is the official organ of Crisp County on January 30, 2005,

                                and that the notice requirements of Code Section 28·1-14 have been met.




                                                                                      s/


                                Sworn to and subscribed before me,
                          :     this 9th day ofFebruary 2005.
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                          ::i .1x2~2~
                            'Susan Gordon
                          i'. Notary Public, Rockdale County, Georgia
                          r My Commission Expires Nov. 18, 2005
                          ' (SEAL)




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